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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN) :
PRODUCTS LIABILITY LITIGATION :                      MDL No. 2592
                                    :
                                    :                SECTION L
                                    :
                                    :                JUDGE ELDON E. FALLON
                                    :
____________________________________:                MAGISTRATE JUDGE NORTH

THIS DOCUMENT RELATES TO:

Joe Sturdivant

CA# 2:15-cv-4003



                                             ORDER

       The Court, after considering the Plaintiff’s Motion for Substitution of Party Plaintiff as
well as any responses thereto, finds the motion meritorious. It is therefore ORDERED THAT:
Plaintiff Jeffrey Sturdivant, as a surviving son of Joe Sturdivant, is substituted for Plaintiff Joe
Sturdivant, in the above captioned cause.




Date: _____________________                          ____________________________________
                                                     Hon. Eldon E. Fallon
                                                     United States District Court Judge
